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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF INDIANA
                           HAMMOND DIVISION

 UNITED STATES OF AMERICA,                )
                                          )
 Plaintiff,                               )
                                          )
 vs.                                      )    NO. 2:04-CR-96
                                          )
 DR. DAVID D. CHUBE,                      )
                                          )
 Defendant.                               )

                             OPINION AND ORDER

       This matter is before the Court on Defendant’s Motion to Remain

 on Bond Pending Sentencing, filed by Dr. David D. Chube, II, on May

 23, 2006.    For the reasons set forth below, this motion is DENIED.

 Defendant is ORDERED to report to the United States Marshal Service

 as previously ordered.

       On May 1, 2006, Defendant was convicted of six felony counts and

 was subject to detention under Title 18 U.S.C. section 3143(a)(2).

 Although section 3143(a)(2) is a mandatory detention provision, a

 person subject to such detention may be released if:           (1) he shows by

 clear and convincing evidence that he is not likely to flee or pose

 a danger to the safety of any other person or the community if

 released; and (2) "it is clearly shown that there are exceptional

 reasons why such person’s detention would not be appropriate."                  18

 U.S.C. § 3145(c).

       While not relying specifically on section 3145(c), this Court

 found exceptional reasons existed on May 1 to allow Defendant to
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 remain on bond for 30 days.      Specifically, this period of time was to

 allow for the transition of his medical practice and patients.

       The allotted 30 days is nearly complete, and Defendant has filed

 the instant motion asserting that exceptional circumstances continue

 to exist that warrant his remaining on bond pending sentencing.               This

 Court disagrees.      To be clear, the only exceptional circumstance

 presented in this case was the need for the transition of the medical

 practice and well-being of the patients.              Even though Defendant

 represents the transition is not complete, it must certainly be

 nearing completion.      Moreover, Dr. Charles Randall Chube, a partner

 in Defendant’s medical practice and a co-defendant in this case, has

 been granted permission to remain on bond pending sentencing.1                  One

 of the main reasons Dr. Charles Randall Chube was allowed to remain

 on bond was so that he could take care of Defendants’ patients and

 make any necessary transition of the medical practice.                 Surely, Dr.

 Charles Randall Chube     has the ability and time (as sentencing is set

 for September of this year) to wrap up the transition.                  Therefore,

 Defendant has failed to clearly show that there are exceptional

 circumstances to warrant his remaining on bond pending sentencing.



 DATED:    May 25, 2006                   /s/RUDY LOZANO, Judge
                                          United States District Court




       1
       As the parties are aware, Dr. Charles Randall Chube was not
 subject to detention pursuant to section 3143(a)(2).

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